      Case 2:21-cv-00445-GGG-DMD Document 47 Filed 08/17/21 Page 1 of 4




                             UNITED STATES DISTRICT COURT

                             EASTERN DISTRICT OF LOUISIANA


CITY OF KENNER,                                     )    CIVIL ACTION NO. 21-445
                                                    )
               Plaintiff,                           )    SECTION: “T”(3)
                                                    )
       v.                                           )    JUDGE GREGG GUIDRY
                                                    )
NETFLIX, INC., AND HULU, LLC,                       )    MAG. JUDGE DANA DOUGLAS
                                                    )
               Defendants.                          )
                                                    )

                  DEFENDANTS’ JOINT RESPONSE TO PLAINTIFF’S
                     NOTICE OF SUPPLEMENTAL AUTHORITY

       Defendants respond to Plaintiff’s submission of Gwinnett County v. Netflix, Inc., No. 1:21-

cv-21-MLB, 2021 WL 3418083 (N.D. Ga. Aug. 5, 2021). (Doc. 46.) While the Georgia district

court followed City of Fishers, Ind. v. DIRECTV, No. 20-3478, 2021 WL 3073368 (7th Cir. July

21, 2021), it repeatedly noted the absence of Eleventh Circuit authority and catalogued the

differences between these cases and “paradigmatic comity cases.” 2021 WL 3418083, at *4 & *6.

The Gwinnett County decision should not impact the Court’s decision on Plaintiff’s Motion to

Remand because the decision conflicts with Fifth Circuit and other precedent explaining why

comity abstention should not apply to a collection action removed under the Class Action Fairness

Act (“CAFA”).

       The Gwinnett County court cited Carnegie-Mellon University v. Cohill, 484 U.S. 343

(1988), for the proposition that “where there is power to decline jurisdiction and dismiss, there is

power to remand.” 2021 WL 3418083, at *3-4. But Plaintiff does not contend this Court has the

power to—or should—dismiss its action against the streaming content providers on abstention
      Case 2:21-cv-00445-GGG-DMD Document 47 Filed 08/17/21 Page 2 of 4




grounds. As Cohill explained, where a federal court has diversity jurisdiction over a removed

damages action, the federal court “could not properly have eliminated the case from its docket,

whether by a remand or by a dismissal.” 484 U.S. at 356.

       The Gwinnett County court ruled CAFA did not displace comity through “silence.” 2021

WL 3418083, at *4. But CAFA expressly provides federal courts “shall” have jurisdiction over

class actions satisfying CAFA’s statutory criteria. 28 U.S.C. § 1332(d)(2). The Supreme Court

has rejected implied exceptions to the removal statute, holding that “whenever the subject matter

of an action qualifies it for removal, the burden is on a plaintiff to find an express exception.”

Breuer v. Jim’s Concrete of Brevard, Inc., 538 U.S. 691, 698 (2003). And the Fifth Circuit and

this Court regularly have denied remands of CAFA-removed actions where the plaintiffs failed to

demonstrate one of CAFA’s express statutory exceptions applied. (Doc. 26, at 7 & n.1.)

       The Gwinnett County court also held comity can apply to damages actions. 2021 WL

3418083, at *6. The Fifth Circuit, however, has followed the holding in Quackenbush v. Allstate

Insurance Co., 517 U.S. 706, 731 (1996), ruling a “damages action . . . allows the court no

discretion and may not be remanded.” Webb v. B.C. Rogers Poultry, Inc., 174 F.3d 697, 700 (5th

Cir. 1999). The Quackenbush decision made clear the earlier McNary decision only addressed the

“scope” of a taxpayer’s § 1983 action that sought damages incidental to a determination a state

law tax was “unconstitutional.” 517 U.S. at 719. Reading McNary to encompass any damages

claim preceded by a threshold liability determination—essentially every damages action—would

render Quackenbush a nullity and be inconsistent with Fifth Circuit precedent.

       The Gwinnett County court also followed the Seventh Circuit’s ruling extending comity

abstention to government-initiated collections actions. In so ruling, the Seventh Circuit relied on


                                               -2-
      Case 2:21-cv-00445-GGG-DMD Document 47 Filed 08/17/21 Page 3 of 4




general statements regarding the purpose of comity abstention and one sentence from the Levin

decision. 1 The cited Supreme Court cases, however, involved taxpayer-filed actions seeking

federal injunctions against state taxes, not collection actions by governments. These cases do not

support extending comity abstention to collection actions.

       Contrary to the Seventh Circuit’s reasoning, the Second Circuit in June 2021 rejected the

application of comity abstention to claims that “do not challenge [plaintiffs’] tax liability, and do

not challenge or disrupt any aspect of the [government’s] administration, calculation, or collection

of any tax.” Dorce v. City of New York, 2 F.4th 82, 98-101 (2d Cir. 2021). This Court should

follow Dorce and reject the Seventh Circuit’s novel extension of comity abstention.

       Finally, the Georgia court invited an appeal, noting the lack of Supreme Court guidance as

to the parameters of the comity doctrine and contrasting these cases with “paradigmatic comity

cases.” 2 Defendants have until September 7, 2021 to directly appeal the Georgia decision.




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  City of Fishers, 2021 WL 3073368, at *4 (“‘[A] proper reluctance to interfere by injunction with
[a state’s] fiscal operations[ ] require[s] that such relief should be denied in every case where the
asserted federal right may be preserved without it.’” (quoting Levin v. Commerce Energy, Inc.,
560 U.S. 413, 422 (2010) (quoting Matthews v. Rodgers, 284 U.S. 521, 525 (1932))) (emphasis
added).
2
  2021 WL 3418083, at *6 (observing “this case was brought by municipalities rather than
taxpayers (or even states); it involves franchise fees rather than ordinary taxes; it seeks to collect
money that the state and its municipalities have not historically collected or relied on; it does not
(currently) involve constitutional claims requiring complex, discretionary remedies; and it
implicates a federal jurisdictional statute (CAFA) that itself reflects some sort of balance between
federal and local interests” and stating that these “differences” may take the case “outside the core
comity cases and into a greyer area”). For its part, the Seventh Circuit predicted the Supreme Court
would be “sure to say more about the limits of comity abstention in years to come.” City of Fishers,
2021 WL 3073368, at *8.

                                                -3-
    Case 2:21-cv-00445-GGG-DMD Document 47 Filed 08/17/21 Page 4 of 4




Respectfully submitted, August 17, 2021.


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